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                                         Case 14-10979-CSS            Doc 10302-1        Filed 12/02/16      Page 2 of 11
                                                         ENERGY FUTURE HOLDINGS CORP., et al.

                                         SEVENTH NOTICE OF SATISFACTION: EXHIBIT A – Satisfied Claims

                                              CASE                                        FILED                  TOTAL CLAIM
                   NAME                      NUMBER       DEBTOR NAME                     DATE       CLAIM #       AMOUNT             REASON FOR SATISFACTION
1   ABB INC                                   14-11022    Oak Grove Management          06/30/2014   502200100        $4,836.00   Scheduled claim is duplicative of Proof
    PO BOX 88868                               (CSS)      Company LLC                                                             of Claim No. 5732, which is Allowed
    CHICAGO, IL 60695-1868                                                                                                        and on account of which Claimant has
                                                                                                                                  received the treatment provided for such
                                                                                                                                  claim in the TCEH Plan in full and final
                                                                                                                                  satisfaction of the claim. (Claimant may
                                                                                                                                  receive subsequent distributions on
                                                                                                                                  account of general unsecured claims, if
                                                                                                                                  any.)
2   ARBORGEN LLC                              14-11022    Oak Grove Management          06/30/2014   502200750        $4,990.60   Scheduled claim is duplicative of Proof
    RICHARD O BARHAM SUPERTREE                 (CSS)      Company LLC                                                             of Claim No. 2541, which is Allowed
    NURSERY                                                                                                                       and on account of which Claimant has
    PO BOX 947                                                                                                                    received the treatment provided for such
    BULLARD, TX 75757                                                                                                             claim in the TCEH Plan in full and final
                                                                                                                                  satisfaction of the claim. (Claimant may
                                                                                                                                  receive subsequent distributions on
                                                                                                                                  account of general unsecured claims, if
                                                                                                                                  any.)
3   AWC INC                                   14-11022    Oak Grove Management          06/30/2014   502200900        $4,984.00   Scheduled claim is duplicative of Proof
    421 WELLS BRANCH PKY STE 300               (CSS)      Company LLC                                                             of Claim No. 4229, which is Allowed
    PFLUGERVILLE, TX 78660                                                                                                        and on account of which Claimant has
                                                                                                                                  received the treatment provided for such
                                                                                                                                  claim in the TCEH Plan in full and final
                                                                                                                                  satisfaction of the claim. (Claimant may
                                                                                                                                  receive subsequent distributions on
                                                                                                                                  account of general unsecured claims, if
                                                                                                                                  any.)




                      * - Indicates claim contains unliquidated and/or undetermined amounts                                                     Page 1 of 10
                                         Case 14-10979-CSS            Doc 10302-1        Filed 12/02/16       Page 3 of 11
                                                         ENERGY FUTURE HOLDINGS CORP., et al.

                                         SEVENTH NOTICE OF SATISFACTION: EXHIBIT A – Satisfied Claims

                                              CASE                                        FILED                  TOTAL CLAIM
                   NAME                      NUMBER       DEBTOR NAME                     DATE       CLAIM #       AMOUNT              REASON FOR SATISFACTION
4   AWC INC                                   14-11033    Sandow Power Company          06/30/2014   503300880        $12,590.00   Scheduled claim is duplicative of Proof
    PO BOX 974800                              (CSS)      LLC                                                                      of Claim No. 4229, which is Allowed
    DALLAS, TX 75397-4800                                                                                                          and on account of which Claimant has
                                                                                                                                   received the treatment provided for such
                                                                                                                                   claim in the TCEH Plan in full and final
                                                                                                                                   satisfaction of the claim. (Claimant may
                                                                                                                                   receive subsequent distributions on
                                                                                                                                   account of general unsecured claims, if
                                                                                                                                   any.)




5   CHEMSEARCH                                14-11032    Luminant Generation           06/30/2014   503207560            $20.00   Scheduled claim is duplicative of Proof
    PO BOX 971269                              (CSS)      Company LLC                                                              of Claim No. 3467, which is Allowed
    DALLAS, TX 75397-1269                                                                                                          and on account of which Claimant has
                                                                                                                                   received the treatment provided for such
                                                                                                                                   claim in the TCEH Plan in full and final
                                                                                                                                   satisfaction of the claim. (Claimant may
                                                                                                                                   receive subsequent distributions on
                                                                                                                                   account of general unsecured claims, if
                                                                                                                                   any.)
6   CITY OF BENBROOK                          14-11040    Luminant Mineral              05/09/2014      15            $1,256.84*   Claim satisfied pursuant to court order
    C/O PERDUE BRANDON FIELDER                 (CSS)      Development Company                                                      entered on 06/04/2014 [Docket No. 799].
    COLLINS MOTT                                          LLC                                                                      Paid via check number 1010006267,
    ATTN: R. BRUCE MEDLEY                                                                                                          1010017447, and 1010042317 on
    P.O. BOX 13430                                                                                                                 09/25/2014, 01/20/2015, and 10/20/2015
    ARLINGTON, TX 76094-0430                                                                                                       respectively.

7   CITY OF MCALLEN                           14-10997    TXU Energy Retail             07/07/2014     2920             $144.89*   Claim satisfied pursuant to court order
    C/O LINEBARGER GOGGAN BLAIR                (CSS)      Company LLC                                                              entered on 06/04/2014 [Docket No. 799].
    SAMPSON LLP                                                                                                                    Paid via check number 1010050776 on
    ATTN: DIANE W. SANDERS                                                                                                         01/26/2016.
    P.O. BOX 17428
    AUSTIN, TX 78760-7428




                      * - Indicates claim contains unliquidated and/or undetermined amounts                                                      Page 2 of 10
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                                                        ENERGY FUTURE HOLDINGS CORP., et al.

                                        SEVENTH NOTICE OF SATISFACTION: EXHIBIT A – Satisfied Claims

                                             CASE                                        FILED                  TOTAL CLAIM
                  NAME                      NUMBER       DEBTOR NAME                     DATE       CLAIM #       AMOUNT              REASON FOR SATISFACTION
8    CONTROLLED FLUIDS INC                   14-11033    Sandow Power Company          06/30/2014   503301560         $4,070.00   Scheduled claim is duplicative of Proof
     PO DRAWER 1914                           (CSS)      LLC                                                                      of Claim No. 4947, which is Allowed
     BEAUMONT, TX 77704                                                                                                           and on account of which Claimant has
                                                                                                                                  received the treatment provided for such
                                                                                                                                  claim in the TCEH Plan in full and final
                                                                                                                                  satisfaction of the claim. (Claimant may
                                                                                                                                  receive subsequent distributions on
                                                                                                                                  account of general unsecured claims, if
                                                                                                                                  any.)
9    CONTROLLED FLUIDS INC                   14-11022    Oak Grove Management          06/30/2014   502202100        $28,762.00   Scheduled claim is duplicative of Proof
     PO DRAWER 1914                           (CSS)      Company LLC                                                              of Claim No. 4947, which is Allowed
     BEAUMONT, TX 77704                                                                                                           and on account of which Claimant has
                                                                                                                                  received the treatment provided for such
                                                                                                                                  claim in the TCEH Plan in full and final
                                                                                                                                  satisfaction of the claim. (Claimant may
                                                                                                                                  receive subsequent distributions on
                                                                                                                                  account of general unsecured claims, if
                                                                                                                                  any.)
10   CROWLEY INDEPENDENT SCHOOL              14-11040    Luminant Mineral              03/24/2015    10037             $438.09    Claim satisfied pursuant to court order
     DISTRICT                                 (CSS)      Development Company                                                      entered on 06/04/2014 [Docket No. 799].
     C/O PERDUE BRANDON FIELDER                          LLC                                                                      Paid via check number 1010042317 on
     COLLINS MOTT                                                                                                                 10/20/2015.
     ATTN: ELIZABETH BANDA CALVO
     500 EAST BORDER ST, SUITE 640
     ARLINGTON, TX 76010
11   DALLAS COUNTY                           14-11042    Luminant Mining               09/10/2015    11471             $65.72*    Claim satisfied pursuant to court order
     C/O LINEBARGER GOGGAN BLAIR              (CSS)      Company LLC                                                              entered on 06/04/2014 [Docket No. 799].
     SAMPSON LLP                                                                                                                  Paid via check number 1010048210 on
     ATTN: ELIZABETH WELLER                                                                                                       12/21/2015.
     2777 N. STEMMONS FREEWAY, SUITE
     1000
     DALLAS, TX 75207




                     * - Indicates claim contains unliquidated and/or undetermined amounts                                                      Page 3 of 10
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                                                         ENERGY FUTURE HOLDINGS CORP., et al.

                                         SEVENTH NOTICE OF SATISFACTION: EXHIBIT A – Satisfied Claims

                                              CASE                                        FILED                  TOTAL CLAIM
                   NAME                      NUMBER       DEBTOR NAME                     DATE       CLAIM #       AMOUNT              REASON FOR SATISFACTION
12   ENTERGY                                  14-10996    EFH Corporate Services        06/30/2014   599604330          $152.58    Scheduled claim is duplicative of Proof
     PO BOX 8104                               (CSS)      Company                                                                  of Claim No. 4324, which is Allowed
     BATON ROUGE, LA 70891-8104                                                                                                    and on account of which Claimant has
                                                                                                                                   received the treatment provided for such
                                                                                                                                   claim in the TCEH Plan in full and final
                                                                                                                                   satisfaction of the claim. (Claimant may
                                                                                                                                   receive subsequent distributions on
                                                                                                                                   account of general unsecured claims, if
                                                                                                                                   any.)
13   EVERMAN INDEPENDENT SCHOOL               14-11040    Luminant Mineral              03/24/2015    10038              $18.86    Claim satisfied pursuant to court order
     DISTRICT                                  (CSS)      Development Company                                                      entered on 06/04/2014 [Docket No. 799].
     C/O PERDUE BRANDON FIELDER                           LLC                                                                      Paid via check number 1010042317 on
     COLLINS MOTT                                                                                                                  10/20/2015.
     ATTN: ELIZABETH BANDA CALVO
     500 EAST BORDER ST, SUITE 640
     ARLINGTON, TX 76010
14   HARRIS COUNTY, ET AL                     14-10979    Energy Future Holdings        03/03/2015     9994           $1,735.39*   Claim satisfied pursuant to court order
     C/O LINEBARGER GOGGAN BLAIR               (CSS)      Corp.                                                                    entered on 06/04/2014 [Docket No. 799].
     SAMPSON LLP                                                                                                                   Paid via check number 1010017493 and
     ATTN: JOHN P. DILLMAN                                                                                                         1010068748 on 01/20/2015 and 08/25/2016,
     P.O. BOX 3064                                                                                                                 respectively.
     HOUSTON, TX 77253-3064
15   HIDALGO COUNTY                           14-10979    Energy Future Holdings        06/25/2014     2568             $225.37    Claim satisfied pursuant to court order
     C/O PERDUE BRANDON FIELDER                (CSS)      Corp.                                                                    entered on 06/04/2014 [Docket No. 799].
     COLLINS MOTT                                                                                                                  Paid via check number 1010068750 on
     ATTN: JOHN T. BANKS                                                                                                           08/25/2016.
     3301 NORTHLAND DRIVE, SUITE 505
     AUSTIN, TX 78731




                      * - Indicates claim contains unliquidated and/or undetermined amounts                                                      Page 4 of 10
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                                           SEVENTH NOTICE OF SATISFACTION: EXHIBIT A – Satisfied Claims

                                                CASE                                        FILED                  TOTAL CLAIM
                    NAME                       NUMBER       DEBTOR NAME                     DATE       CLAIM #       AMOUNT                REASON FOR SATISFACTION
16   HULCHER SERVICES INC                       14-11032    Luminant Generation           06/30/2014   503218930        $39,098.42     Scheduled claim is duplicative of Proof
     PO BOX 203532                               (CSS)      Company LLC                                                                of Claim No. 3155, which is Allowed
     DALLAS, TX 75320-3532                                                                                                             and on account of which Claimant has
                                                                                                                                       received the treatment provided for such
                                                                                                                                       claim in the TCEH Plan in full and final
                                                                                                                                       satisfaction of the claim. (Claimant may
                                                                                                                                       receive subsequent distributions on
                                                                                                                                       account of general unsecured claims, if
                                                                                                                                       any.)
17   IMAGINATION BRANDING                       14-10996    EFH Corporate Services        06/30/2014   599606010          $304.83      Scheduled claim is duplicative of Proof
     230 GREAT CIRCLE RD STE 248                 (CSS)      Company                                                                    of Claim No. 3729, which is Allowed
     NASHVILLE, TN 37228-1728                                                                                                          and on account of which Claimant has
                                                                                                                                       received the treatment provided for such
                                                                                                                                       claim in the TCEH Plan in full and final
                                                                                                                                       satisfaction of the claim. (Claimant may
                                                                                                                                       receive subsequent distributions on
                                                                                                                                       account of general unsecured claims, if
                                                                                                                                       any.)
18   JOHNSON COUNTY                             14-11040    Luminant Mineral              03/23/2015    10033                  $0.34   Claim satisfied pursuant to court order
     C/O PERDUE BRANDON FIELDER                  (CSS)      Development Company                                                        entered on 06/04/2014 [Docket No. 799].
     COLLINS MOTT                                           LLC                                                                        Paid via check numbers 1010068746 on
     ATTN: ELIZABETH BANDA CALVO                                                                                                       08/25/2016.
     500 EAST BORDER ST, SUITE 640
     ARLINGTON, TX 76010
19   KONE INC                                   14-11002    TXU Energy Solutions          06/30/2014   500200050         $9,240.83     Scheduled claim is duplicative of Proof
     PO BOX 429                                  (CSS)      Company LLC                                                                of Claim No. 3940, which is Allowed
     MOLINE, IL 61266-0429                                                                                                             and on account of which Claimant has
                                                                                                                                       received the treatment provided for such
                                                                                                                                       claim in the TCEH Plan in full and final
                                                                                                                                       satisfaction of the claim. (Claimant may
                                                                                                                                       receive subsequent distributions on
                                                                                                                                       account of general unsecured claims, if
                                                                                                                                       any.)




                        * - Indicates claim contains unliquidated and/or undetermined amounts                                                        Page 5 of 10
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                                          SEVENTH NOTICE OF SATISFACTION: EXHIBIT A – Satisfied Claims

                                               CASE                                        FILED                  TOTAL CLAIM
                   NAME                       NUMBER       DEBTOR NAME                     DATE       CLAIM #       AMOUNT               REASON FOR SATISFACTION
20   LEE HECHT HARRISON LLC                    14-11042    Luminant Mining               06/30/2014   504247470         $7,000.00    Scheduled claim is duplicative of Proof
     DEPT CH # 10544                            (CSS)      Company LLC                                                               of Claim No. 3339, which is Allowed
     PALATINE, IL 60055-0544                                                                                                         and on account of which Claimant has
                                                                                                                                     received the treatment provided for such
                                                                                                                                     claim in the TCEH Plan in full and final
                                                                                                                                     satisfaction of the claim. (Claimant may
                                                                                                                                     receive subsequent distributions on
                                                                                                                                     account of general unsecured claims, if
                                                                                                                                     any.)
21   MANSFIELD INDEPENDENT SCHOOL              14-11040    Luminant Mineral              03/24/2015    10035            $1,274.74    Claim satisfied pursuant to court order
     DISTRICT                                   (CSS)      Development Company                                                       entered on 06/04/2014 [Docket No. 799].
     C/O PERDUE BRANDON FIELDER                            LLC                                                                       Paid via check number 1010042317 on
     COLLINS MOTT                                                                                                                    10/20/2015.
     ATTN: ELIZABETH BANDA CALVO
     500 EAST BORDER ST, SUITE 640
     ARLINGTON, TX 76010
22   MCALLEN INDEPENDENT SCHOOL                14-10979    Energy Future Holdings        06/25/2014     2569              $396.09    Claim satisfied pursuant to court order
     DISTRICT                                   (CSS)      Corp.                                                                     entered on 06/04/2014 [Docket No. 799].
     C/O PERDUE BRANDON FIELDER                                                                                                      Paid via check number 1010068750 on
     COLLINS MOTT                                                                                                                    08/25/2016.
     ATTN: JOHN T. BANKS
     3301 NORTHLAND DRIVE, SUITE 505
     AUSTIN, TX 78731
23   NORTH AMERICAN COAL ROYALTY               14-11027    Oak Grove Power Company       10/10/2014     5119         $4,270,000.00   The Debtors have determined to
     COMPANY                                    (CSS)      LLC                                                                       reinstate this claim. The Debtors’
     ATTN: JOHN D. NEUMANN                                                                                                           obligations under the Purchase and Sale
     5340 LEGACY DR., BUILDING 1, SUITE                                                                                              Agreement dated 12/22/2010 will be paid
     300                                                                                                                             in full and in accordance with the terms
     PLANO, TX 75024                                                                                                                 of such Agreement. Pursuant to Article
                                                                                                                                     III.B.27 of the TCEH Plan, the Claimant
                                                                                                                                     is receiving reinstatement of its claim in
                                                                                                                                     full and final satisfaction of the proof of
                                                                                                                                     claim filed in the chapter 11 cases.




                       * - Indicates claim contains unliquidated and/or undetermined amounts                                                        Page 6 of 10
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                                        SEVENTH NOTICE OF SATISFACTION: EXHIBIT A – Satisfied Claims

                                             CASE                                        FILED                  TOTAL CLAIM
                  NAME                      NUMBER       DEBTOR NAME                     DATE       CLAIM #       AMOUNT              REASON FOR SATISFACTION
24   PENNSYLVANIA CRUSHER CORP               14-11022    Oak Grove Management          06/30/2014   502206650        $42,806.16   Scheduled claim is duplicative of Proof
     5505 N CUMBERLAND AVE STE 307            (CSS)      Company LLC                                                              of Claim No. 4472, which is Allowed
     CHICAGO, IL 60656-1471                                                                                                       and on account of which Claimant has
                                                                                                                                  received the treatment provided for such
                                                                                                                                  claim in the TCEH Plan in full and final
                                                                                                                                  satisfaction of the claim. (Claimant may
                                                                                                                                  receive subsequent distributions on
                                                                                                                                  account of general unsecured claims, if
                                                                                                                                  any.)
25   RED RIVER PUMP SPECIALISTS LLC          14-11042    Luminant Mining               06/30/2014   504265100         $2,709.56   Scheduled claim is duplicative of Proof
     1555 WELLS ISLAND ROAD                   (CSS)      Company LLC                                                              of Claim No. 7590, which is Allowed
     SHREVEPORT, LA 71107                                                                                                         and on account of which Claimant has
                                                                                                                                  received the treatment provided for such
                                                                                                                                  claim in the TCEH Plan in full and final
                                                                                                                                  satisfaction of the claim. (Claimant may
                                                                                                                                  receive subsequent distributions on
                                                                                                                                  account of general unsecured claims, if
                                                                                                                                  any.)
26   SMITH COUNTY                            14-11035    Southwestern Electric         09/10/2015    11468             $47.95*    Claim satisfied pursuant to court order
     C/O LINEBARGER GOGGAN BLAIR              (CSS)      Service Company, Inc.                                                    entered on 06/04/2014 [Docket No. 799].
     SAMPSON LLP                                                                                                                  Paid via check number 1010068744 on
     ATTN: ELIZABETH WELLER                                                                                                       08/25/2016.
     2777 N. STEMMONS FREEWAY, SUITE
     1000
     DALLAS, TX 75207
27   SOUTH TEXAS COLLEGE                     14-10997    TXU Energy Retail             07/07/2014     2919             $51.06*    Claim satisfied pursuant to court order
     C/O LINEBARGER GOGGAN BLAIR              (CSS)      Company LLC                                                              entered on 06/04/2014 [Docket No. 799].
     SAMPSON LLP                                                                                                                  Paid via check number 1010068750 on
     ATTN: DIANE W. SANDERS                                                                                                       08/25/2016.
     P.O. BOX 17428
     AUSTIN, TX 78760-7428




                     * - Indicates claim contains unliquidated and/or undetermined amounts                                                      Page 7 of 10
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                                         SEVENTH NOTICE OF SATISFACTION: EXHIBIT A – Satisfied Claims

                                              CASE                                        FILED                  TOTAL CLAIM
                   NAME                      NUMBER       DEBTOR NAME                     DATE       CLAIM #       AMOUNT                REASON FOR SATISFACTION
28   SOUTH TEXAS ISD                          14-10997    TXU Energy Retail             07/07/2014     2921               $16.75*    Claim satisfied pursuant to court order
     C/O LINEBARGER GOGGAN BLAIR               (CSS)      Company LLC                                                                entered on 06/04/2014 [Docket No. 799].
     SAMPSON LLP                                                                                                                     Paid via check number 1010068750 on
     ATTN: DIANE W. SANDERS                                                                                                          08/25/2016.
     P.O. BOX 17428
     AUSTIN, TX 78760-7428
29   ST JOSEPH REGIONAL HEALTH                14-11033    Sandow Power Company          06/30/2014   503304530             $35.00    Scheduled claim is duplicative of Proof
     CENTER                                    (CSS)      LLC                                                                        of Claim No. 4761, which is Allowed
     PO BOX 660445                                                                                                                   and on account of which Claimant has
     DALLAS, TX 75266-0445                                                                                                           received the treatment provided for such
                                                                                                                                     claim in the TCEH Plan in full and final
                                                                                                                                     satisfaction of the claim. (Claimant may
                                                                                                                                     receive subsequent distributions on
                                                                                                                                     account of general unsecured claims, if
                                                                                                                                     any.)
30   TEX-LA ELECTRIC COOP. OF TEXAS,          14-10979    Energy Future Holdings        10/27/2014     7794        $60,810,367.58*   Claim satisfied in accordance with
     INC                                       (CSS)      Corp.                                                                      agreement between parties by wire
     C/O DYKEMA GOSSETT PLLC                                                                                                         number 7162003282 on 9/22/2016.
     ATTN: JEFFREY R. FINE
     1717 MAIN ST, STE 4200
     DALLAS, TX 75201
31   TEX-LA ELECTRIC COOP. OF TEXAS,          14-11032    Luminant Generation           10/27/2014     7795        $60,810,367.58*   Claim satisfied in accordance with
     INC                                       (CSS)      Company LLC                                                                agreement between parties by wire
     C/O DYKEMA GOSSETT PLLC                                                                                                         number 7162003282 on 9/22/2016.
     ATTN: JEFFREY R. FINE
     1717 MAIN ST, STE 4200
     DALLAS, TX 75201
32   TEX-LA ELECTRIC COOP. OF TEXAS,          14-11005    Energy Future Competitive     10/27/2014     7796        $60,810,367.58*   Claim satisfied in accordance with
     INC                                       (CSS)      Holdings Company LLC                                                       agreement between parties by wire
     C/O DYKEMA GOSSETT PLLC                                                                                                         number 7162003282 on 9/22/2016.
     ATTN: JEFFREY R. FINE
     1717 MAIN ST, STE 4200
     DALLAS, TX 75201




                      * - Indicates claim contains unliquidated and/or undetermined amounts                                                        Page 8 of 10
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                                          SEVENTH NOTICE OF SATISFACTION: EXHIBIT A – Satisfied Claims

                                               CASE                                        FILED                  TOTAL CLAIM
                    NAME                      NUMBER       DEBTOR NAME                     DATE       CLAIM #       AMOUNT               REASON FOR SATISFACTION
33   TEXAS WORKFORCE COMMISSION                14-10997    TXU Energy Retail             05/12/2014     37                $432.34    Claim satisfied pursuant to court order
     REGULATORY INTEGRITY DIVISION              (CSS)      Company LLC                                                               entered on 6/4/2014 [Docket No. 786].
     ATTN: PAUL D CARMONA                                                                                                            Paid via check number 1010061991 on
     101 E 15TH ST, ROOM 556                                                                                                         05/27/2016.
     AUSTIN, TX 78778-0001
34   UNITED STATES DEPT OF                     14-10979    Energy Future Holdings        10/27/2014    7807        $60,810,367.58*   Claim satisfied in accordance with
     AGRICULTURE, RURAL                         (CSS)      Corp.                                                                     agreement between parties by wire
     UTILITIES SERVICE                                                                                                               number 7162003282 on 9/22/2016.
     C/O US DOJ CIVIL DIV./ATTN: M. J.
     TROY
     POB 875 BEN FRANKLIN STATION
     WASHINGTON, DC 20044-0875
35   UNITED STATES DEPT OF                     14-11032    Luminant Generation           10/27/2014    7808        $60,810,367.58*   Claim satisfied in accordance with
     AGRICULTURE, RURAL                         (CSS)      Company LLC                                                               agreement between parties by wire
     UTILITIES SERVICE                                                                                                               number 7162003282 on 9/22/2016.
     C/O US DOJ CIVIL DIV./ATTN: M. J.
     TROY
     POB 875 BEN FRANKLIN STATION
     WASHINGTON, DC 20044-0875
36   UNITED STATES DEPT OF                     14-11005    Energy Future Competitive     10/27/2014    7809        $60,810,367.58*   Claim satisfied in accordance with
     AGRICULTURE, RURAL                         (CSS)      Holdings Company LLC                                                      agreement between parties by wire
     UTILITIES SERVICE                                                                                                               number 7162003282 on 9/22/2016.
     C/O US DOJ CIVIL DIV./ATTN: M. J.
     TROY
     POB 875 BEN FRANKLIN STATION
     WASHINGTON, DC 20044-0875




                       * - Indicates claim contains unliquidated and/or undetermined amounts                                                       Page 9 of 10
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                                            CASE                                           FILED               TOTAL CLAIM
                 NAME                      NUMBER       DEBTOR NAME                        DATE    CLAIM #       AMOUNT               REASON FOR SATISFACTION
37   UT DALLAS ACCOUNTS RECEIVABLE          14-11032    Luminant Generation           06/30/2014   503239580        $16,680.00    Scheduled claim is duplicative of Proof
     800 W CAMPBELL RD AD 37                 (CSS)      Company LLC                                                               of Claim No. 6302, which is Allowed
     RICHARDSON, TX 75080                                                                                                         and on account of which Claimant has
                                                                                                                                  received the treatment provided for such
                                                                                                                                  claim in the TCEH Plan in full and final
                                                                                                                                  satisfaction of the claim. (Claimant may
                                                                                                                                  receive subsequent distributions on
                                                                                                                                  account of general unsecured claims, if
                                                                                                                                  any.)
38   WATCO MECHANICAL SERVICES              14-11032    Luminant Generation           06/30/2014   503240310       $430,311.58    Scheduled claim is duplicative of Proof
     39575 TREASURY CENTER                   (CSS)      Company LLC                                                               of Claim No. 6298, which is Allowed
     CHICAGO, IL 60694-9500                                                                                                       and on account of which Claimant has
                                                                                                                                  received the treatment provided for such
                                                                                                                                  claim in the TCEH Plan in full and final
                                                                                                                                  satisfaction of the claim. (Claimant may
                                                                                                                                  receive subsequent distributions on
                                                                                                                                  account of general unsecured claims, if
                                                                                                                                  any.)
                                                                                                   TOTAL       $369,746,901.47*




                   * - Indicates claim contains unliquidated and/or undetermined amounts                                                       Page 10 of 10
